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  IT IS ORDERED as set forth below:



  Date: January 25, 2018
                                                   _____________________________________
                                                               James R. Sacca
                                                         U.S. Bankruptcy Court Judge

 _______________________________________________________________


                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                      )
                                            )   CHAPTER 13
SARITA TAWANNA ARNOLD,                      )
      Debtor.                               )   CASE NO. 17-61979-JRS
__________________________________          ) _____________________
SARITA TAWANNA ARNOLD,                      )
                                            )
         Movant,                            )   CONTESTED MATTER
                                            )
vs.                                         )
                                            )
FORD MOTOR CREDIT                           )
COMPANY, LLC                                )
                                            )
      Respondent.                           )

                    CONSENT ORDER ON MOTION TO AVOID LIEN

         Before the Court is Debtor’s Motion to Avoid Judgment Lien (the “Motion”) (Doc. No.

29) filed pursuant to 11 U.S.C. §522(1) and Bankruptcy Rule 4003(d). Movant presents in the

Motion that Respondent obtained a judgment against her in the sum of $15,780.92 with a writ

of fieri facias being recorded in the General Execution Docket with the Clerk of Superior Court

of Fulton County, Georgia on September 9, 2009, Lien Book 1285, Page 185 (the “Lien”).
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       Movant contends that the Lien impairs exemptions claimed in various assets including

real property located at 6640 Greenbower Lane, College Park, Fulton County, GA 30349 (the

“Real Property”). Respondent filed a proof of claim in this case (Claims Docket 2-1) on August

2, 2017 in the amount $21,802.90, secured by the Lien on property.

        Movant’s Motion acknowledges that she has equity in the Real Property above her

allowed exemptions in the amount of $11,826.74. Counsel for Respondent having consented to

this Motion, it is hereby

       ORDERED that the Motion is hereby GRANTED as follows:

       a) That $9,976.00 of the judicial lien is held to impair Debtor’s exempt property and is,

           therefore, is avoided pursuant to 11 U.S.C. § 522(b) and is to be treated under

           Debtor’s Plan as a general unsecured claim;

       b) $11,826.74 of Respondent's Lien is held not to impair Debtor’s exempt property and

           is to be treated under Debtor’s Plan as a Secured claim.

                                    [END OF DOCUMENT]

Order prepared and presented by:

_____/s/________________
Richard K. Valldejuli, Jr.
GA Bar # 723225
Attorney for Movant
2199 Lenox Road, Suite A
Atlanta, GA 30324
(404) 636-9957

                                 (Signatures continued next page)
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Consented to by:

_____/s/_____________________
Gregson T. Hann, Esq. (by RKV w/express permission 1/23/18)
GA Bar No. 316070
Counsel for Respondent
Aldridge Pite Haan, LLP
P.O. Box 52815
Atlanta, GA 30355
(678) 553-7611
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                                  DISTRIBUTION LIST


Nancy J. Whaley
Nancy J. Whaley, Standing Ch. 13 Trustee
303 Peachtree Center Avenue
Suite 120, Suntrust Garden Plaza
Atlanta, GA 30303

Richard K. Valldejuli, Jr.
Valldejuli & Associates, LLC
2199 Lenox Road, NE, Suite A
Atlanta, GA 30324

Sarita Tawanna Arnold
6640 Greenbower Lane
Atlanta, GA 30349


Gregson T. Haan, Esq.
Aldridge Pite Haan, LLP
P.O. Box 52815
Atlanta, GA 30355
